    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                            Office of the Clerk
        United States Courthouse
                                                                           Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                           www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                     ORDER
October 12, 2022

                                                      Before
                                             FRANK H. EASTERBROOK, Circuit Judge
                                             AMY J. ST. EVE, Circuit Judge
                                             CANDACE JACKSON-AKIWUMI, Circuit Judge

                                     BROWN COUNTY TAXPAYERS ASSOCIATION,
                                             Plaintiff - Appellant

No. 22-2794                          v.

                                     JOSEPH R. BIDEN, JR., et al.,
                                               Defendants - Appellees
Originating Case Information:
District Court No: 1:22-cv-01171-WCG
Eastern District of Wisconsin
District Judge William C. Griesbach


Upon consideration of the EMERGENCY MOTION FOR INJUNCTION PENDING APPEAL,
filed on October 11, 2022, by counsel for the appellant,

IT IS ORDERED that the motion for an injunction pending appeal is DENIED.



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           Case 1:22-cv-01171-WCG Filed 10/12/22 Page 1 of 1 Document 18
